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                               IN THE U.S. DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                                    MIAMI DIVISION


  AIG EUROPE LIMITED, INDIVIDUALLY,         )
  AND AS LEAD UNDERWRITER ON                )
  BEHALF OF CERTAIN INTERESTED              )
  UNDERWRITERS Subscribing to               )
  Policy 05210A13AD,                        )
                                            )
        Plaintiffs,                         )
                                            )
        vs.                                 )                 Case No. ________________
                                            )
  LANDING GEAR TECHNOLOGIES,                )
  LLC, RAUL CRUZ ALVAREZ, and               )
  STREAMLINE AVIATION, INC.                 )
                                            )
        Defendants.                         )
  __________________________________________)

                       COMPLAINT AND DEMAND FOR JURY TRIAL

         Plaintiffs,   AIG   EUROPE       LIMITED,      INDIVIDUALLY,         AND      AS    LEAD

  UNDERWRITER ON BEHALF OF CERTAIN INTERESTED UNDERWRITERS Subscribing

  to Policy 05210A13AD (collectively hereinafter, “UNDERWRITERS”), sue LANDING GEAR

  TECHNOLOGIES, LLC, RAUL CRUZ ALVAREZ, and STREAMLINE AVIATION, INC. and

  allege as follows:

                                  JURISDICTION AND VENUE

         1.      This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1332 because

  complete diversity of citizenship exists between the Plaintiffs and all Defendants and because the

  amount in controversy exceeds $75,000.00.

         2.      At all times material hereto, Plaintiff, AIG EUROPE LIMITED, was a United

  Kingdom corporation with its principal place of business located in the United Kingdom.
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         3.      At all times material hereto, all following underwriters subscribing to Policy

  05210A13AD were incorporated outside the State of Florida and maintained their principle place

  of business outside the State of Florida. No following underwriters are incorporated in the State

  of Florida and none maintain their principle place of business in the State of Florida.

         4.      At all times material hereto, Defendant, LANDING GEAR TECHNOLOGIES,

  LLC (hereinafter, “LGT”), was a Florida corporation with its principal place of business located

  in Hialeah, Dade County, Florida.

         5.      At all times material hereto, Defendant, RAUL CRUZ ALVAREZ (hereinafter,

  “ALVAREZ”) was a person sui juris and a citizen and resident of Dade County, Florida.

         6.      At all times material hereto, Defendant, STREAMLINE AVIATION, INC.

  (hereinafter, “STREAMLINE”), was a Florida corporation with its principal place of business

  located in Miami, Dade County, Florida.

         7.      This Court has personal jurisdiction over the Defendants because the Defendants’

  residence and/or principle place of business is located in the State of Florida, the Defendants

  regularly conduct(ed) business within the State of Florida, and the Defendants have properly

  availed themselves of the benefits of doing business within the State of Florida.           Further,

  Defendants’ negligence occurred within the State of Florida and all acts giving rise to these

  causes of action occurred within the State of Florida.

         8.      Venue is proper in this District Court pursuant to 28 U.S.C. § 1391(b). The

  Defendants reside within this District and a substantial part of the events giving rise to this claim

  occurred within this District.




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                                   GENERAL ALLEGATIONS

         9.      At all times material hereto, UNDERWRITERS issued a policy of insurance to

  ASL AVIATION GROUP LIMITED, ACL TRADING LTD, AIR CONTRACTORS

  ENGINEERING LTD, BAC GROUP LTD, and AIR CONTRACTORS LTD (collectively

  hereinafter, “ASL”) which covered ASL and its Boeing 737-476 aircraft, Irish Registration

  Number EI-STD (hereinafter, “EI-STD”) for the damages ASL suffered as a result of the

  underlying incident involving EI-STD.

         10.     At all times material hereto, AIG EUROPE LIMITED INDIVIDUALLY also

  issued a separate policy of insurance to ASL, policy number 14661A13AC, which insured ASL

  for the deductible on the aforementioned insurance policy, policy number 05210A13AD.

         11.     Pursuant to the foregoing policies of insurance UNDERWRITERS made payment

  to ASL for damages caused as a result of the underlying crash. See, Exhibits “A,” “B,” and “C.”

  Consequently, UNDERWRITERS are subrogated to, and stand in the shoes of, ASL.

         12.     At all times material hereto, LGT was in the business of overhauling, repairing,

  assembling, modifying, servicing, maintaining, inspecting, packaging, and selling various

  aircraft components.

         13.     At all times material hereto, STREAMLINE was in the business of overhauling,

  repairing, assembling, modifying, servicing, maintaining, inspecting, packaging, and selling

  various aircraft components.

         14.     At all times material hereto, ALVAREZ was an employee or agent of LGT.

         15.     In 2012 and 2013, LGT overhauled an inner cylinder assembly for an aircraft

  landing gear (part number 65-46116-55, serial number SS4027), including various machining,

  grinding, chrome plating, honing, polishing, inspecting, testing, and other activities conducted on




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  the inner cylinder assembly as more fully set forth in LGT’s work order number 100453 attached

  hereto as Exhibit “D.”

         16.    STREAMLINE participated in performing portions of the overhaul, including

  various machining, grinding, honing, polishing, inspecting, testing, and other activities

  conducted on the inner cylinder assembly as more fully set forth in STREAMLINE’s work order

  number 200699 attached hereto as Exhibit “E.”

         17.    On or about January 25, 2013, LGT/ALVAREZ completed the overhaul of the

  inner cylinder assembly and issued an FAA Form 8130-3, Airworthiness Approval Tag (work

  order number 100453), for the inner cylinder assembly, signed by ALVAREZ on behalf of the

  LGT repair station, certifying that the inner cylinder assembly was overhauled in accordance

  with Boeing CMM 32-11-11 Rev. 109 dated: November 1, 2012 and FAA airworthiness

  regulations, and certifying that the inner cylinder assembly was airworthy and approved for

  return to service. A true and accurate copy of the Airworthiness Approval Tag is attached hereto

  and incorporated herein as Exhibit “F”.

         18.    After the inner cylinder assembly was overhauled, Defendants placed the inner

  cylinder assembly into the stream of commerce where it was ultimately obtained by ASL and

  installed on EI-STD in reliance upon the Airworthiness Approval Tag issued by

  LGT/ALVAREZ. See, Exhibit “D.”

         19.    On April 29, 2014, EI-STD was damaged beyond repair during landing at East

  Midlands Airport in in Leicestershire, England, when the inner cylinder assembly failed and the

  left main landing gear detached, causing EI-STD to roll left and crash on the runway.

         20.    The crash and resulting aircraft damage were caused by Defendants’ improper

  overhaul of the inner cylinder assembly.




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          21.     The accident was investigated by the Air Accidents Investigation Branch of the

  United Kingdom (hereinafter, the “AAIB”). The AAIB concluded that the main landing gear

  “failure was as a result of stress corrosion cracking and fatigue weakening the high strength steel

  substrate at a point approximately 75 mm above the axle,” and that “it is likely that some degree

  of heat damage was sustained by the inner cylinder during the overhaul process as indicated by

  the presence of chicken wire cracking within the chrome plating over the majority of its surface.”

  The Defendants caused that heat damage.

          22.     As a direct and proximate result of the defective and improperly overhauled inner

  cylinder assembly which resulted in the foregoing incident, Plaintiffs suffered damages,

  including without limitation: $7 million for the total loss of EI-STD (inclusive of deductible paid

  by ASL), and $220,618 for costs related to wreckage removal, aircraft storage and other

  associated costs.

                                         COUNT I
                               STRICT LIABILITY AGAINST LGT

          23.     Plaintiffs adopt and re-allege paragraphs 1-22 as if set forth fully herein.

          24.     LGT was in the business of manufacturing, overhauling, repairing, assembling,

  modifying, servicing, maintaining, inspecting, packaging, and selling inner cylinder assemblies

  and other aircraft parts.

          25.     LGT manufactured, overhauled, repaired, assembled, modified, serviced,

  maintained, inspected, packaged, and/or sold the subject inner cylinder assembly. After doing

  so, LGT placed the subject inner cylinder assembly into the stream of commerce for use by an

  ultimate consumer.




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         26.     At the time the subject inner cylinder assembly left LGT’S control, it was

  defective, unreasonably dangerous, unfit for its intended use, and incompatible with the

  reasonable expectations for the performance of said product.

         27.     ASL received the subject inner cylinder assembly without substantial change in

  the condition in which it is sold.

         28.     At the time of the incident described above, the subject inner cylinder assembly

  was being utilized in substantially the same condition as it existed when it was sold by LGT.

         29.     At the time of the incident described above, ASL was utilizing the subject inner

  cylinder assembly for the ordinary purpose for which it was intended.

         30.     Because the subject inner cylinder assembly was defective, unreasonably

  dangerous, unfit for its intended use, and incompatible with the reasonable expectations for the

  performance of said product, it failed and caused EI-STD to crash.

         31.     As a direct and proximate result of the defective design, manufacture, overhaul,

  repair, assembly, modification, and/or inspection of the inner cylinder assembly, the Plaintiffs

  suffered damages.

         WHEREFORE, Plaintiffs demand a trial by jury pursuant to Rule 38(b) Fed.R.Civ.P., and

  judgment for compensatory damages against Defendant LANDING GEAR TECHNOLOGIES,

  including all costs incurred in the prosecution of this action, prejudgment interest, post judgment

  interest, and such further and additional relief available by law.

                                        COUNT II
                         STRICT LIABILITY AGAINST STREAMLINE

         32.     Plaintiffs adopt and re-allege paragraphs 1-22 as if set forth fully herein.




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         33.     STREAMLINE was in the business of manufacturing, overhauling, repairing,

  assembling, modifying, servicing, maintaining, inspecting, packaging, and selling inner cylinder

  assemblies and other aircraft parts.

         34.     STREAMLINE manufactured, overhauled, repaired, assembled, modified,

  serviced, maintained, inspected, packaged, and/or sold the subject inner cylinder assembly.

  After doing so, STREAMLINE placed the subject inner cylinder assembly into the stream of

  commerce for use by an ultimate consumer.

         35.     At the time the subject inner cylinder assembly left STREAMLINE’S control, it

  was defective, unreasonably dangerous, unfit for its intended use, and incompatible with the

  reasonable expectations for the performance of said product.

         36.     ASL received the subject inner cylinder assembly without substantial change in

  the condition in which it is sold.

         37.     At the time of the incident described above, the subject inner cylinder assembly

  was being utilized in substantially the same condition as it existed when it was sold by

  STREAMLINE.

         38.     At the time of the incident described above, ASL was utilizing the subject inner

  cylinder assembly for the ordinary purpose for which it was intended.

         39.     Because the subject inner cylinder assembly was defective, unreasonably

  dangerous, unfit for its intended use, and incompatible with the reasonable expectations for the

  performance of said product, it failed and caused EI-STD to crash.

         40.     As a direct and proximate result of the defective design, manufacture, overhaul,

  repair, assembly, modification, and/or inspection of the inner cylinder assembly, the Plaintiffs

  suffered damages.




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         WHEREFORE, Plaintiffs demand a trial by jury pursuant to Rule 38(b) Fed.R.Civ.P., and

  judgment for compensatory damages against Defendant STREAMLINE AVIATION, INC.,

  including all costs incurred in the prosecution of this action, prejudgment interest, post judgment

  interest, and such further and additional relief available by law.

                                          COUNT III
                                   NEGLIGENCE AGAINST LGT

         41.      Plaintiffs adopt and re-allege paragraphs 1-22 as if set forth fully herein.

         42.      LGT owed the Plaintiffs and their insureds a duty to use reasonable care in

  overhauling, repairing, and assembling the subject inner cylinder assembly.

         43.      LGT breached its duty of reasonable care by:

               a. Failing to overhaul, repair, and assemble the subject inner cylinder assembly with

                  appropriate parts;

               b. Failing to overhaul, repair, and assemble the subject inner cylinder assembly to

                  the appropriate specifications;

               c. Failing to overhaul, repair, and assemble the subject inner cylinder assembly in

                  compliance with the appropriate overhaul manual;

               d. Failing to ensure that the subject inner cylinder assembly was airworthy;

               e. Failing to properly train employees to ensure the proper overhauling, repairing,

                  and assembly of the subject inner cylinder assembly; and

               f. Otherwise failing to use reasonable care in the overhauling, repairing, and

                  assembling the subject inner cylinder assembly.

         44.      As a result of LGT’S actions and/or omissions, LGT overhauled and sold the

  inner cylinder assembly in a defective condition.




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          45.      ASL received the subject inner cylinder assembly without substantial change in

  the condition in which it is sold and while ASL was utilizing the inner cylinder assembly for the

  ordinary purpose for which it was intended, the inner cylinder assembly failed causing the left

  main landing gear to detach from EI-STD.

          46.      As a direct and proximate result of the defective and improperly overhauled inner

  cylinder assembly which resulted in this accident, the Plaintiffs suffered damages.             Such

  damages include, but are not limited to: property damages, wreckage removal, aircraft storage,

  and associated costs, loss of use of the aircraft, loss of profits, and other expenses incurred due to

  the loss of use of the aircraft.

          WHEREFORE, Plaintiffs demand a trial by jury pursuant to Rule 38(b) Fed.R.Civ.P., and

  judgment for compensatory damages against Defendant LANDING GEAR TECHNOLOGIES,

  including all costs incurred in the prosecution of this action, prejudgment interest, post judgment

  interest, and such further and additional relief available by law.

                                        COUNT IV
                              NEGLIGENCE AGAINST STREAMLINE

          47.      Plaintiffs adopt and re-allege paragraphs 1-22 as if set forth fully herein.

          48.      STREAMLINE owed the Plaintiffs and their insureds a duty to use reasonable

  care in overhauling, repairing, and assembling the subject inner cylinder assembly.

          49. STREAMLINE breached its duty of reasonable care by:

                a. Failing to overhaul, repair, and assemble the subject inner cylinder assembly with

                   appropriate parts;

                b. Failing to overhaul, repair, and assemble the subject inner cylinder assembly to

                   the appropriate specifications;




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                c. Failing to overhaul, repair, and assemble the subject inner cylinder assembly in

                   compliance with the appropriate overhaul manual;

                d. Failing to ensure that the subject inner cylinder assembly was airworthy;

                e. Failing to properly train employees to ensure the proper overhauling, repairing,

                   and assembly of the subject inner cylinder assembly; and

                f. Otherwise failing to use reasonable care in the overhauling, repairing, and

                   assembling the subject inner cylinder assembly.

          50.      As a result of STREAMLINE’S actions and/or omissions, STREAMLINE

  overhauled and sold the inner cylinder assembly in a defective condition.

          51.      ASL received the subject inner cylinder assembly without substantial change in

  the condition in which it is sold and while ASL was utilizing the inner cylinder assembly for the

  ordinary purpose for which it was intended, the inner cylinder assembly failed causing the left

  main landing gear to detach from EI-STD.

          52.      As a direct and proximate result of the defective and improperly overhauled inner

  cylinder assembly which resulted in this accident, the Plaintiffs suffered damages.             Such

  damages include, but are not limited to: property damages, wreckage removal, aircraft storage,

  and associated costs, loss of use of the aircraft, loss of profits, and other expenses incurred due to

  the loss of use of the aircraft.

          WHEREFORE, Plaintiffs demand a trial by jury pursuant to Rule 38(b) Fed.R.Civ.P., and

  judgment for compensatory damages against Defendant STREAMLINE AVIATION, INC.,

  including all costs incurred in the prosecution of this action, prejudgment interest, post judgment

  interest, and such further and additional relief available by law.




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                              COUNT V
        NEGLIGENT MISREPRESENTATION AGAINST RAUL CRUZ ALVAREZ

         53.     Plaintiffs adopt and re-allege paragraphs 1-22 as if set forth fully herein.

         54.     ALVAREZ owed LGT’s customers and their downstream customers, specifically

  including the Plaintiffs and their insureds, a duty to use reasonable care and competence in

  obtaining and communicating information regarding overhaul of the subject inner cylinder

  assembly.

         55.     ALVAREZ personally executed the FAA 8130-3, Airworthiness Approval Tag.

  See, Exhibit “F”.

         56.     The Airworthiness Approval Tag attached as Exhibit “F” is a statement certifying

  that ALVAREZ/LGT overhauled the subject inner cylinder assembly in accordance with Boeing

  CMM 32-11-11 Rev. 109 dated: November 1, 2012 and the FAA airworthiness regulations, and

  certifying that the inner cylinder assembly was airworthy and approved for return to service.

         57.     The statements contained within the Airworthiness Approval Tag attached as

  Exhibit “F” are false. The inner cylinder assembly was not overhauled in compliance with the

  overhaul manual and the inner cylinder assembly was not airworthy.

         58.     These false statements pertained to material facts as they relate to the inner

  cylinder assembly’s airworthiness, value, and reliability.

         59.     ALVAREZ was negligent in making these statements because he made the

  statements without knowledge of their veracity. Further, under the circumstances, through the

  exercise of reasonable care, ALVAREZ should have known, and could have discovered, that the

  statements were false.

         60.     ALVAREZ made these false statements intending to induce the inner cylinder

  assembly’s purchaser and ultimate consumer to rely thereon.



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            61.     ASL and its agents reasonably relied upon ALVAREZ’S statements contained

  within Exhibit “F,” and as part of that reliance ASL purchased the inner cylinder assembly, and

  had it installed on its aircraft where it failed and caused the Plaintiffs to suffer damages.

            62.     But for ALVAREZ’S false statements contained within the Airworthiness

  Approval Tag attached as Exhibit “F,” ASL would not have purchased the inner cylinder

  assembly nor installed it for use on its aircraft.

            63.     As a direct and proximate result of the defective and improperly overhauled inner

  cylinder assembly which resulted in this accident, the Plaintiffs suffered damages.             Such

  damages include, but are not limited to: property damages, wreckage removal, aircraft storage,

  and associated costs, loss of use of the aircraft, loss of profits, and other expenses incurred due to

  the loss of use of the aircraft.

            WHEREFORE, Plaintiffs demand a trial by jury pursuant to Rule 38(b) Fed.R.Civ.P., and

  judgment for compensatory damages against Defendant RAUL CRUZ ALVAREZ, including all

  costs incurred in the prosecution of this action, prejudgment interest, post judgment interest, and

  such further and additional relief available by law.

                                      COUNT VI
                           VICARIOUS LIABILITY AGAINST LGT
                  FOR THE NEGLIGENT MISREPRESENTATIONS OF ALVAREZ

            64.     Plaintiffs adopt and re-allege paragraphs 1-22 and 53-63 as if set forth fully

  herein.

            65.     At all times material, including when ALVAREZ executed the Airworthiness

  Approval Tag attached as Exhibit “F,” ALVAREZ was an authorized employee and agent of

  LGT and was acting within the course and scope of his duties with LGT. Therefore, LGT is




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  vicariously liable for ALVAREZ’S actions and/or omissions in negligently misrepresenting that

  the subject inner cylinder assembly was properly overhauled and airworthy.

          66.     As a direct and proximate result of the defective and improperly overhauled inner

  cylinder assembly which resulted in this accident, the Plaintiffs suffered damages.             Such

  damages include, but are not limited to: property damages, wreckage removal, aircraft storage,

  and associated costs, loss of use of the aircraft, loss of profits, and other expenses incurred due to

  the loss of use of the aircraft.

          WHEREFORE, Plaintiffs demand a trial by jury pursuant to Rule 38(b) Fed.R.Civ.P., and

  judgment for compensatory damages against Defendant LANDING GEAR TECHNOLOGIES,

  LLC, including all costs incurred in the prosecution of this action, prejudgment interest, post

  judgment interest, and such further and additional relief available by law.

                                     COUNT VII
                      BREACH OF EXPRESS WARRANTY AGAINST LGT

          67.     Plaintiffs adopt and re-allege paragraphs 1-22 as if set forth fully herein.

          68.     LGT overhauled, repaired, assembled, modified, inspected, packaged, and/or sold

  the subject inner cylinder assembly.

          69.     LGT issued work orders and a FAA 8130-3, Airworthiness Approval Tag, for the

  subject inner cylinder assembly. See, Exhibits “D” and “F.”

          70.     The work orders and Airworthiness Approval Tag attached as Exhibits “D” and

  “F” contain express statements warranting that LGT properly overhauled the subject inner

  cylinder assembly and that the inner cylinder assembly was airworthy.

          71.     ASL was a foreseeable purchaser and user of the subject inner cylinder assembly.




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          72.     ASL relied upon warranties expressed in Exhibits “D” and “F” by LGT and as

  part of that reliance ASL purchased the inner cylinder assembly and had the inner cylinder

  assembly installed on its aircraft where it failed and caused the Plaintiffs to suffer damages.

          73.     But for the warranties expressly stated by LGT in Exhibits “D” and “F,” ASL

  would not have purchased the subject inner cylinder assembly, and would not have installed the

  inner cylinder assembly on its aircraft.

          74.     As a direct and proximate result of LGT’S breach of the warranties expressly

  stated in Exhibits “D” and “F,” the Plaintiffs suffered damages, including but not limited to:

  property damages, wreckage removal, aircraft storage, and associated costs, loss of use of the

  aircraft, loss of profits, and other expenses incurred due to the loss of use of the aircraft.

          75.     Plaintiffs, through their agents, have notified LGT on numerous occasions that the

  subject inner cylinder assembly was improperly overhauled, was not airworthy, and failed

  causing the Plaintiffs to suffer damages. Despite demand to do so, LGT has failed to make

  payment to remedy the damages caused by the inner cylinder assembly it sold in contravention

  of its warranties.

          WHEREFORE, Plaintiffs demand a trial by jury pursuant to Rule 38(b) Fed.R.Civ.P., and

  judgment for compensatory damages against Defendant LANDING GEAR TECHNOLOGIES,

  LLC, including all costs incurred in the prosecution of this action, prejudgment interest, post

  judgment interest, and such further and additional relief available by law.

                                   COUNT VIII
                BREACH OF EXPRESS WARRANTY AGAINST STREAMLINE

          76.     Plaintiffs adopt and re-allege paragraphs 1-22 as if set forth fully herein.

          77.     STREAMLINE overhauled, repaired, assembled, modified, inspected, packaged,

  and/or sold the subject inner cylinder assembly.



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          78.     STREAMLINE issued various work orders and related documents (hereinafter,

  “work orders”), for the subject inner cylinder assembly. See, Exhibit “E”.

          79.     The work orders attached as Exhibit “E” contain express statements that

  STREAMLINE properly overhauled the subject inner cylinder assembly in accordance with the

  applicable “SOPM,” which is an acronym for standard operating procedures manuals.

          80.     ASL was a foreseeable purchaser and user of the subject inner cylinder assembly.

          81.     ASL relied upon warranties expressed in inner cylinder assembly’s work orders

  attached as Exhibit “E,” and as part of that reliance ASL purchased the inner cylinder assembly

  and had the inner cylinder assembly installed on its aircraft where it failed and caused the

  Plaintiffs to suffer damages.

          82.     But for the warranties expressly stated in STREAMLINE’S work orders attached

  as Exhibit “E,” ASL would not have purchased the subject inner cylinder assembly, and would

  not have installed the inner cylinder assembly on its aircraft.

          83.     As a direct and proximate result of STREAMLINE’S breach of the warranties

  expressly stated in the work orders attached as Exhibit “E,” the Plaintiffs suffered damages,

  including but not limited to: property damages, wreckage removal, aircraft storage, and

  associated costs, loss of use of the aircraft, loss of profits, and other expenses incurred due to the

  loss of use of the aircraft.

          84.     Plaintiffs, through their agents, notified STREAMLINE on numerous occasions

  that the subject inner cylinder assembly was improperly overhauled, was not airworthy, and

  failed causing the Plaintiffs to suffer damages. Despite demand to do so, STREAMLINE has

  failed to make payment to remedy the damages caused by the inner cylinder assembly it sold in

  contravention of its warranties.




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         WHEREFORE, Plaintiffs demand a trial by jury pursuant to Rule 38(b) Fed.R.Civ.P., and

  judgment for compensatory damages against Defendant STREAMLINE AVIATION, INC.,

  including all costs incurred in the prosecution of this action, prejudgment interest, post judgment

  interest, and such further and additional relief available by law.

                                   DEMAND FOR JURY TRIAL

         Plaintiffs hereby demand trial by jury of all issues so triable as a matter of right.


                                                /s/ John M. Murray
                                                TRIAL COUNSEL FOR ASL
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